                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW MEXICO
HENRY NEZ, JR; HAROLD BROWN;
VERNON YAZZIE; and HECTOR
MAYORGA on behalf of themselves and others
similarly situated,

                        Plaintiffs,

        v.


SOUTHWEST GLASS AND GLAZING, INC.,                       Case No. 1:15-cv-01041-RJ-LF
ANTHONY S. BACA, CAROL J. MCCARTHY,
AND KIRA A. SOWANIC, et. al.,

                        Defendants.

   MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF PLAINTIFFS’
     RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

                                         I.      INTRODUCTION
        Plaintiffs Henry Nez, Jr., Harold Brown, Vernon Yazzie and Hector Mayorga, on behalf of

themselves and others similarly situated, (collectively “Plaintiffs”) hereby file their Response to the

Motion for Summary Judgment (“MSJ”) filed by Defendant Southwest Glass and Glazing, et. al.

(“Southwest Glass,” “SWG” or “Defendants”). Plaintiffs ask this Court to deny the MSJ for one or

more of the below reasons.

        First, they failed to demonstrate an absence of dispute of material fact on all elements of the

Fair Labor Standards Act (“FLSA”), New Mexico Public Works Minimum Wage Act

(“NMPWMA”), and New Mexico Minimum Wage Act (“NMWA”) claims as required by Federal

Rules of Civil Procedure (“FRCP”), Rule 56, in that: (a) Defendants failed to address all of the

elements of all claims; (b) as to some elements, Defendants’ Statement of Undisputed Material Facts

(“UMF”) sets forth conclusory statements either misinterpreting or omitting material portions of

discovery, rather than containing concise statements of material fact as required by New Mexico
District Court Local Rule 56.1(b); (c) the evidentiary support in the UMF largely relies upon

Defendants’ witnesses’ opinions and conclusions in violation of Rule 56. Defendants’ motion is

based in part upon an affirmative defense on which they carry the burden of proof as to each

element. (See Sec.V(B)). Second, Defendants failed to demonstrate they are entitled to judgment as a

matter of law as to each element of the claims and affirmative defense.

                            II.       LEGAL STANDARD FOR SUMMARY JUDGMENT
          A party seeking summary judgment always bears the initial responsibility of identifying

evidence which it believes demonstrate the absence of a genuine issue of material fact as to any

element of the claims or defenses. Celotex Corp. v. Catrett, 477 U.S. 317, 323, 331 (1986). If the

Defendants fail to carry this initial burden of production, then Plaintiffs have no obligation to

respond or produce anything in opposition to the motion and the motion must be denied. Nissan

Fire and Marine Ins. Co., Ltd. v. Fritz Companies, Inc., 210 F.3d 1099, 1102-03 (9th Cir. 2000). “[A]t the

summary judgment stage the judge’s function is not himself to weigh the evidence and determine the

truth of the matter but to determine whether there is a genuine issue for trial.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 249 (1986).1 Generally, “New Mexico courts ... view summary judgment

with disfavor, preferring a trial on the merits.” Segura v. J.W. Drilling, Inc., 355 P.3d 845, 847, cert.

denied, 369 P.3d 368 (2015).
          If the burden of production is satisfied, then the Defendants must also affirmatively

demonstrate that no reasonable trier of fact could find other than for Defendants. Shakur v. Schriro,

514 F.3d 878,890 (9th Cir. 2008); Bradescu v. Hillstone Restaurant Group, Inc., 2014 WL 5312546*9

(C.D.Cal.) (As party moving for summary judgment based on its own defense, to prevail on

summary judgment, defendant must show that the “evidence is so powerful that no reasonable jury

would be free to disbelieve it.”). The Court must accept as true any evidence produced by the



1 “Credibility determinations, the weighing of the evidence, and the drawing of legitimate inferences from the facts are jury functions,
not those of a judge, [when] ruling on a motion for summary judgment […] The evidence of the non-movant is to be believed, and all
justifiable inferences are to be drawn in his favor.” Liberty Lobby, supra, 477 U.S. 242 at 255.


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plaintiffs and any reasonable inferences that may be drawn from any facts before the Court must

favor the plaintiffs. If conflicting inferences may be drawn, the MSJ must be denied. Gregory v. United

Parcel Service, Inc., 2015 WL1956435 *2 (E.D.Cal.).

          For the reasons herein, Defendants have failed to carry their burden. To the contrary, much

of Defendants’ own cited evidence points to disputes of material fact. To assess liability, a trial

assessing both Plaintiffs’ timesheets and paystubs, and their testimony on work performed, is

necessary. Though Defendants failed to meet their burden, Plaintiffs can also show evidence

demonstrating disputed material facts. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 569 (2007).

               III.       LEGAL ELEMENTS TO CONSIDER ON SUMMARY JUDGMENT

          Plaintiffs allege that travel time is compensable under any of the following conditions: First,

the time spent is spent predominantly for the employer's benefit. United Transp. Union Local 1745 v.

City of Albuquerque, 178 F.3d 1109, 1116 (10th Cir.1999). Second, “[w]here an employee is required to

report at a meeting place to receive instructions or to perform other work there, or to pick up and to

carry tools, the travel from the designated place to the work place is part of the day's work, and must

be counted as hours worked regardless of contract, custom, or practice.” 29 C.F.R. § 785.38.2 Third,

when travel keeps an employee away from home overnight and cuts across the workday. 29 C.F.R. §

785.39. Fourth, otherwise compensable driving time when an employee requests to drive his own

vehicle rather than take offered transportation. 29 C.F.R. § 785.40.3 In contrast, Defendants contend

that travel time is only compensable when: the employee performs work duties while travelling, or

the employee drives a vehicle equipped with critical equipment without which the work cannot be

performed. Defendants assert their opinion that employees were not required to report to the main

shop and rarely transported tools. Such opinions are disputed. Defendants’ MSJ fails not only omits


2 “If an employee normally finishes his work on the premises at 5 p.m. and is sent to another job which he finishes at 8 p.m. and is
required to return to his employer's premises arriving at 9 p.m., all of the time is working time […]” Id.
3 “[A]dministrative interpretations are to be given especially authoritative weight when [as here] (1) the interpretative rule embodies a

construction made contemporaneously with the enactment of the statute ... or (2) when the interpretative regulation or policy is of
long standing.” Oil Shale Corp v. Morton, 370 F.Supp. 108, 122 (D.Colo.1973), citing Davis, Administrative Law, Vol. I, § 5.06 at p. 324,
(1958).


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legal elements, but fails to establish the absence of material facts as to the requisite elements.

          Next, Defendants’ assertion that no violation of NMPWMWA occurred rests on the

erroneous presumption that glazier duties solely encompass two discrete tasks: (1) setting glass and

(2) erecting frames, whereas all other work performed at job sites can be categorized as Group III

semiskilled Laborer work. Plaintiffs’ work encompasses that outlined in the definition of a glazier.4

See 11.1.2.17(Q) NMAC. Defendants’ own witnesses concede that work other than setting of glass

and erecting of frames is necessary to accomplish the work of a glazier.5 Moreover, the definition of

Group III Laborer does not reflect Plaintiffs’ work. Defendants have not and cannot establish it.6

          Defendants’ MSJ is bereft of any facts establishing their compliance with apprenticeship

standards. See 11.1.2.19(A)(1)-(4) NMAC. Rather, as established in the statement of Material

Disputed Facts (“DMF”), former Southwest Glass Vice President Carol McCarthy, responsible for

payroll, stated she did not understand the term “indentured.” SWG arbitrarily re-classified

“apprentices” as “glaziers” temporarily to meet a ratio needed to employ other apprentices at a pay

rate lower than the glazier rate. (See Response to UMF No. 9). SWG’s contradictory time

classification practices and deposition testimony explicitly expressed the belief that an apprentice

need not or does not perform the work of the trade in which they are indentured, which is legally

non-compliant under their logic. See id. at (3) .

                                        IV.       MATERIAL FACTS IN DISPUTE

No.                   Defendants’ UMF                              Plaintiffs’ Supporting Evidence Showing
                                                                                 Factual Dispute
1.       5. “Southwest Glass employs field                      Yazzie has at least 15 years of experience working
         employees...depending on their                         with SWG, yet he is still classified as a helper.

4 Ex. 5, Deposition of Harold Brown (“Brown Depo”), 32:3-24; 41:3-21; Ex. 4, Deposition of Vernon Yazzie (“Yazzie Depo”), 39:8-
25 (example of misclassified time); 40:12-19.
5 Ex. 12, Arrellin Depo, 6:2-7:6; Ex. 10, Baldonado Depo, 5:23-7:7 (‘other’ tasks are necessary and part of glazing).
6 See Public Works Minimum Wage Act Policy Manual’s definition of Group III semi-skilled laborer: “(base): air and power tool opr.

(not a carpenter's tool); asbestos remover; asph. heaterman; asph. jointman; asph. raker; batching plant scaleman; chain sawman;
concr. touch-up man; concr. sawman - coring mach.; curbing mach. asph. or cement; cutting torchman; metal form setter-road; grade
setter; gunitereboundmen; rod and chainmen; concrete power buggy opr.; powderman or blaster helper; sandblaster (pot men);
nozzlemen; scaler; vibratorman (handtype); vibratory compactor (hand type); wagon core and diamond drillers' tenders (outside);
window washers; fog mach. opr.; nurseryman-gardener; multi-plate setter; conc. burner; cement mason tenders; hodcarriers; mortar
mixers; plaster spreader opr.; plaster tenders; gunitenozzlemen; pipelayer; pumpcretenozzlemen; manhole builder; roadway hardware
worker.” 11.1.2.18(N)(Appendix J)(3).


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No.            Defendants’ UMF                      Plaintiffs’ Supporting Evidence Showing
                                                                   Factual Dispute
      experience.”                              Brown has at least 4 years of experience working
                                                with SWG, yet he is still classified as a helper. See
                                                Defendants’ MSJ Ex. 6, Doc. 74-6, p. 14 of 41
                                                (The word “leadman” is crossed out and the word
                                                “helper” is written in its place. SWG made this
                                                notation in 2014 when Yazzie had 14 years of
                                                glazing experience with SWG. Despite SWG’s
                                                stated practice of classifying employees according
                                                to their “years of experience,” and specifically,
                                                classifying employees as “helpers” if they had
                                                minimal to no glazing experience, SWG did not re-
                                                classify Yazzie as a glazier in the 2014); compare with
                                                Ex. 1, Deposition of Antony Baca (“Baca Depo”),
                                                26:14-28:1 (stating “if they have no experience, no
                                                glazing experience when they come to work for us,
                                                they are classified as a helper” and to be a glazier
                                                “they would have to have to have a proven,
                                                verifiable track record”); 125:16-126:10 (“if
                                                [Yazzie] was the highest paid guy on the job and
                                                needed to get a ratio, yes, he would be deemed a
                                                glazier for that period of time”); 128:23 – 129:20
                                                (stating that the hiring rate is “all
                                                discretionary…It’s just basically what they
                                                negotiated at the time. It depends on how badly
                                                we need them.” ); Ex. 2, Deposition of Carol
                                                McCarthy, (“McCarthy Depo”), 30:21-22 (“the pay
                                                rate would be based on whether or not they are
                                                classified as a glazier or a helper or a laborer”);
                                                35:11-37:9 (starting pay rate is “discretionary” and
                                                starting job classification determination is “made
                                                by the superintendent based on their skill level;”
                                                pay rate only changes over time if “the general
                                                manager, sometimes the superintendents” give a
                                                raise.”).
2.    6. “an employee must be registered in     Ex. No. 1, Baca Depo, 79:11 - 80:13; Ex. 2,
      an apprenticeship program…and the         McCarthy Depo, 13:11-15; 99:14-100:22; 102:9-
      apprenticeship program regularly          105:11; 109:14-110:9
      advises Southwest Glass.”
3.    7. “Southwest Glass employees…are         Defendants are not paying the correct prevailing
      paid wage rates determined by the New     wage rate for all work performed by virtue of
      Mexico Department of Workforce            SWG’s arbitrary and inadequately defined
      Solutions for all work performed on the   assignment and shifting re-assignments of the job
      job site.”                                classifications of “helper,” “designated glazier”
                                                and “apprentice”. Defendants have not and cannot
                                                indicate any justifiable basis as to why arbitrarily
                                                assigned job titles allows them to pay “helpers”
                                                less than the glazier prevailing rate for the same
                                                work performed by “designated glaziers.” Ex. 13,


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No.             Defendants’ UMF                     Plaintiffs’ Supporting Evidence Showing
                                                                  Factual Dispute
                                               SWGLASSS009039, p. 13 [contract certifying that
                                               prevailing wages will be paid to all employees for
                                               the contracted-for work performed on the public
                                               works project]. Further, Defendants’ failure to
                                               accurately record duties and all hours worked on
                                               timecards results in the non-payment or
                                               underpayment of wages. See also Ex. 1, Baca
                                               Depo, 26:14-28:1; 125:16-126:10; 128:23 – 129:20;
                                               Ex. 2, McCarthy Depo, 30:21-22, 35:11-37:9, 38:5-
                                               39:1, Ex. 6, Deposition of Hector Mayorga
                                               (“Mayorga Depo”), 58:20-59:14 (foreman who
                                               filled out timecards not present to observe what
                                               work Mayorga is doing); Ex. 10, Deposition of
                                               Lorenzo Baldonado, (“Baldonado Depo”), 58:9-24
                                               (alters timecard to reflect another task); 61:8-11
                                               (changes timecards once or twice a month); 26:5-
                                               23 (only on the job site 2-3 hours per day to
                                               observe glaziers work); Ex. 12, Deposition of
                                               Jordan Arrellin (“Arrellin Depo”), 60:2-11 (fills out
                                               timecards for employees only from memory at the
                                               of end of week); 23:23-25; 21:23-22:4; 23:1-6; Ex.
                                               11, Deposition of Don Walker, (“Walker Depo”),
                                               12:17-25 (he is at different job sites for limited
                                               durations); 15:7-10; Ex. 8, Deposition of Nancy
                                               Jarvis, (“Jarvis Depo”), 22:2-3 (would omit time
                                               from timecards “if I was directed by the
                                               superintendent”); 23:8-24:8; 49:25-51:23 (“…if it
                                               was on their time card but it wasn’t on the work
                                               order, their time gets X’d off…”); 59:21-61:2
                                               (“…instead of having to use white out everywhere,
                                               if they write in pencil, I’m able to change a
                                               number…” on a timecard); Ex. 14, Deposition of
                                               Max Chavez, (“Chavez Depo”), 22:7-23:8 (calls
                                               foreman to verify and then change glaziers’ time
                                               on timecards); Ex. 9, Deposition of Joe Cordova,
                                               (“Cordova Depo”), 16:4-17:3; 33:24-34:16; 41:7-
                                               42:13; 36:6-17 (“…we’ve kind of gotten lax on
                                               those [daily logs]”)
4.    8. “Employees…are paid the designated Ex. 1, Baca Depo, 26:14-28:1; Ex. 13,
      glazier wage rate for all work performed SWGLASS0001112; 1271; 1328; 1409, 1-5
      on the job site.” “Apprentice glaziers   [paystubs for Hector Mayorga, claimed by SWG to
      are paid an apprentice rate, which is a  be an apprentice, showing varying pay rates and
      percentage of the glazier rate depending differing rates according to the type of work duties
      on where each apprentice is in the       performed.]
      apprenticeship program, for all work
      performed on the job site.”              The NMPWA does not allow for a division of pay
      “Employees…are paid the designated       rates for the same work duties performed on
      laborer wage rate …for all work          public works site based upon an employer’s


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No.             Defendants’ UMF                        Plaintiffs’ Supporting Evidence Showing
                                                                     Factual Dispute
      performed on the job site” “duties          arbitrarily assigned job classifications founded on
      within the New Mexico Department of         vague, undefined levels of experience and skill.
      Workforce Solution’s definition of          Further, the definition of a semi-skilled Group III
      “glazier” work, for which time they are     Laborer under Type B and C construction does
      paid the glazier wage rate”                 not encompass the other performed by field
                                                  employees other than setting glass and erecting
                                                  frames.
5.    9. “employees are paid the designated       Defendants’ temporary elevation of apprentices to
      glazier wage rate for all work performed    designated glaziers evidences their arbitrary pay
      on the job site.”                           practices not in compliance with NMPWMWA.
                                                  Ex. 7, Plaintiffs’ Response to Rog. No 7, 9 and 10
                                                  [detailing occurrences in which all time was either
                                                  misclassified or not recorded on time cards,
                                                  including travel time, and therefore was underpaid
                                                  or not paid]; Ex. 6, Mayorga Depo, 56:18-16
                                                  [travel not on recorded on timecard]; Ex. 1, Baca
                                                  Depo, 108:22-24 [travel time not recorded on
                                                  timecard], 107:22-25 [only paid for time on
                                                  timecard].
6.    10. “field employees perform certain        Set-up did not always occur every day, rather it
      preparatory tasks on a daily basis. Each    typically occurred on Mondays. Employees did not
      day employees perform tasks described       always collect tools from a secured location each
      as “set up.” “These tasks consist of        day of work. See Ex. 3, Deposition of Henry Nez,
      collecting tools from a central, secured    Jr. (“Nez Depo”), 31:23-32:1; Ex. 4, Yazzie Depo,
      location…”                                  15:6-10; Ex. 3, Nez Depo, 56:13-23 [foreman told
                                                  him to report to shop to load]; Ex. 5, Brown
                                                  Depo, 15:9-13 [obtains tools from his vehicle at
                                                  the job site]; Ex. 6., Mayorga Depo, 14:13-16, 15:4-
                                                  6; Ex. 4, Yazzie Depo, 19:12-14; 24:4-25:11.
7.    11. “Another preparatory task               Materials distribution did not always occur every
      performed each day is referred to as        day, rather it typically occurred on Mondays and
      “materials distribution…”                   materials were left staged out for the following
                                                  days of work. See Ex. 3, Nez Depo, 30:10-16; Ex.
                                                  5, Brown Depo, 18:1-17; Ex. 4, Yazzie Depo,16:5-
                                                  13
8.    12. “Time spent in set up and material      Set-up and material distribution did not always
      distribution varies from day to day…”       occur every day. Defendants cite to testimony of
                                                  superintendents who were not present at the
                                                  worksite for the entire duration of a project. See
                                                  Ex. 3, Nez Depo, 30:10-16; Ex. 5, Brown Depo,
                                                  18:1-17; Ex. 4, Yazzie Depo, 16:5-13; see also
                                                  Plaintiffs’ citations responding to UMF No. 7.
9.    13. “…Department of Labor personnel         Defendants’ own witness testimony is conflicting,
      advised Southwest Glass that it was         and thus disputed, as to how and whether DWS,
      permissible pursuant to the Public          formerly known as the Department of Labor,
      Works Act to average the time spent on      provided this direction, which was not
      set up and material distribution tasks on   memorialized in writing or any official capacity. See
      a daily basis” … “[DWS] personnel           Ex. 2, McCarthy Depo, 60:4-8, 56:9-58:21 (stating


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No.             Defendants’ UMF                     Plaintiffs’ Supporting Evidence Showing
                                                                  Factual Dispute
      advised that one-half hour of set up      “I don’t believe [John Minks] specifically said that,
      time and one-half hour of material        no,”…in response to whether SWG was told
      distribution time was a reasonable        during the 2000 audit to put half-hour of material
      average.”                                 distribution each day of the week), 59:1-60:11
                                                (stating “no, I did not” personally receive any
                                                instruction from the DWS that certain time could
                                                be paid at the laborer rate); compare with Ex. 1, Baca
                                                Depo, 59:14-62:23; 70:8-71:7 (when asked how
                                                DWS communicated the direction to designate an
                                                average time for material distribution and set-up,
                                                stating “Carol McCarthy met with John –I believe
                                                his name was John Minks, who was the Director
                                                of Workforce Solutions or Department of Labor
                                                back in 2000”).
10.   14. “Pursuant to the definitions          Ex. 4, Yazzie Depo, p. 10:2-25; Ex. 6, Mayorga
      regulated by the [DWS], the only duties   Depo, 7:10-9:4; see also Plaintiffs’ citations
      categorized as glazing work…are           responding to UMF No. 7; Ex. 12, Arrellin Depo,
      erecting frames and installing glass.”    6:2-7:6; Ex. 5, Brown Depo, 32:3-24; 41:3-21; Ex.
                                                4, Yazzie Depo, 39:8-25 (example of misclassified
      “It is, however, each individual          time); 40:12-19; Ex. 10, Baldonado Depo, 5:23-7:7
      employee’s responsibility to keep track   (tasks other than erecting frames and installing
      of and differentiate between which of     glass are necessary to do glazing).
      the above tasks they performed...”
                                                Ex. 1, Baca Depo, 75:6-20 (stating that
                                                responsibility for one’s own time is “advice,” not
                                                a policy and employees “have to suffer
                                                consequences” if they don’t do it right); 112:11-14.
                                                Regardless of Defendants’ attempt to pass blame,
                                                it is the employer’s legal obligation to keep accurate
                                                records, and thus, ensure that time worked is
                                                recorded properly. Anderson v. Mt. Clemens Pottery
                                                Co., 328 U.S. 680, 687-88 (1946) (recognizing an
                                                employer’s statutory duty to keep proper wage and
                                                time records.).
11.   15. “Southwest Glass pays employees       Ex. 6, Mayorga Depo, 27:21-28:4, 64:3-67:12; Ex.
      for the time spent travelling from one    5, Brown Depo, 48:19-50:9 [never told how travel
      job site to another job site within the   time calculated; Ex. 4, Yazzie Depo, 28:22-29:11
      work day.”                                (not paid travel time)

12.   16. “Southwest Glass does not require     Ex. 3, Nez Depo, 26:10-25; 27:10; Ex. 6, Mayorga
      field employees to report to its          Depo, 14:13-16, 15:4-6, 55:16-19 [Mayorga knew
      Albuquerque shop at the beginning of      to report at shop at 5am]; Ex. 3, Nez Depo, 26:10-
      the work week or to return to the         27:10, 55:1-56:9 [required to report to shop
      Albuquerque shop at the end of the        depending on location of job], 56:13-23 [foreman
      work week…”                               told him to report to shop to load], 57:7-23; 60:9-
                                                25 [supervisor told him to report to shop], 61:20-
                                                63:17 [Nez denies that he was “not required” to
                                                report to the shop]; Ex. 1, Baca Depo, 49:1-10


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No.             Defendants’ UMF                       Plaintiffs’ Supporting Evidence Showing
                                                                     Factual Dispute
                                                  [testified the employees “get tools” and “fill out
                                                  paperwork” at the shop); Ex. 12, Arellin Depo,
                                                  17:8-11; Ex. 9, Cordova Depo, 17:13-25 [at the
                                                  shop, employees “usually, get their materials for
                                                  the week…”); 60:1-19; Ex. 10, Baldonado Depo,
                                                  8:18-23 [glaziers transport materials]; Ex. 5, Brown
                                                  Depo, 15:9-13 [obtains tools from his vehicle at
                                                  the job site]; Ex. 4, Yazzie Depo, 19:12-14; 24:4-
                                                  25:11 [foreman told him to report to shop to load
                                                  up truck]).
13.   17. “Many…employees go to                   Ex. 4, Yazzie Depo, p. 28:5-9; Ex. 3, Nez Depo,
      the…shop…to catch a ride in a               60:9-25, 61:20-63:17; Ex. 6, Mayorga Depo, 55:16-
      company vehicle…and then return to          19; 56:18-16
      the… shop…to collect their personal
      vehicles left at the… shop.”
14.   18. “Usually materials…are delivered to     There are disputes as to Defendants’ temporal
      the job site by a special delivery truck    characterizations “usually,” “occasionally” and
      driven by a shop, as opposed to a field,    “rarely.” Ex. 1, Baca Depo, 49:1-10 [testified the
      employee”… “Occasionally,” a company        employees “get tools” and “fill out paperwork”);
      truck transporting employees to a job       Ex. 12, Arrellin Depo, 17:8-11; Ex. 9, Cordova
      site will tow a trailer with additional     Depo, 17:13-25 [at the shop, employees “usually,
      supplies.” “On rare                         get their materials for the week…”); 60:1-19; Ex.
      occasions,…employees who voluntarily        10, Baldonado Depo, 8:18-23 [glaziers transport
      report to the…shop…to ride in a             materials]; Ex. 5, Brown Depo, 15:9-13 [obtains
      company vehicle to the job site will        tools from his vehicle at the job site]; Ex. 6.,
      spend time loading a trailer with           Mayorga Depo, 14:13-16, 15:4-6; Ex. 4, Yazzie
      materials for the job. They are paid for    Depo, 19:12-14; 24: 4-25:11 [foreman told him to
      this time.”                                 report to shop to load up truck]).

15.   19. “employees who work on out-of-          Ex. 6, Mayorga Depo, 23:16-25:13; 27:2-20; Ex. 5,
      town projects are paid a lump sum per       Brown Depo, 33:19-23; 36:22-25; Ex. 1, Baca
      diem, which includes imbursement for        Depo, 107:22-25 [only paid for time on timecard].
      the cost of overnight accommodations
      and meals…”
16.   20. “Southwest Glass pays all field         See Plaintiffs’ citations responding to UMF No. 19
      employees at the rate of $10.00 per         above; see also Baca Depo, 107:22-25 [only paid
      hour for the average time it would take     for time on timecard].
      to travel from the… shop at the
      beginning of the week to the job site
      and returning from the job site to
      the…shop at the end of the week.”
      “Employees are paid this amount
      regardless of whether they drive or ride
      and …whether they come to the…shop
      to ride in a company vehicle or travel
      from their homes directly to the job site
      …”.
17.   21. “… Some employees… rely on their        Glaziers are not given an opportunity to review


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No.             Defendants’ UMF                    Plaintiffs’ Supporting Evidence Showing
                                                                  Factual Dispute
      assigned foremen to complete their       and approve time cards prior to their submission
      time cards for them. … … employees       to payroll. They must ask to review them if they
      who do not fill out their own time cards discover a discrepancy upon receiving a paycheck,
      may review their time cards and contest but doing so did not assure that their time was
      any perceived discrepancies before their corrected. Ex. 1, Baca Depo, 114:5-18; Ex. 5,
      time cards have been turned in to        Brown Depo, 20:8-11; 21:11-25; 31:7-10; Ex. 6,
      payroll….an employee who believes he Mayorga Depo, 57:25-5, 65:16-24 (“we always got
      has been paid incorrectly may take the   stepped on when we went to the superintendent’s
      issue up with a foreman,                 office…we never got an answer”); Ex. 3, Nez
      superintendent, or any member of         Depo, 55:4-10; Ex. 4, Yazzie Depo, 50:8-15; 51:2-
      Southwest Glass’ management,             16
      including Baca.”
18.   22. “DWS has audited seven               The documents actually reviewed and areas
      (7)…projects to determine whether        investigated by DWS are unknown. Ex. 2,
      Southwest Glass has complied with the McCarthy Depo, 60:4-8 [did not specifically
      requirements of the New Mexico Public discuss classification of material distribution or set-
      Works Minimum Wage Act.…This             up at the laborer rate at audits during the
      documentation showed the wage rates      recoverable period], 56:9-58:21 [does not recall
      paid…and…duties performed…the            John Minks instructing how to designate time for a
      number of hours that were devoted to     particular duty], 59:1-60:11.
      each duty each day.”
19.   23. “three (3) have been concluded with This statement misrepresents the nature of the
      no findings of any violations. One of    violations and scope of the audits. First, the audits
      the audits concluded with a finding that were performed on only 7 of approximately 276
      Southwest Glass had erroneously          public works projects done in the recoverable
      underpaid one employee by the amount period. Ex. 15, Defendants’ Response to Rog. 1,
      of $926.83.40 Another audit concluded SWGLASS008870-8875 [276 projects in the
      that Southwest Glass had underpaid       recoverable period]; Ex. 16, Defendants’ Response
      five (5) employees by a combined total   to Request for Production No. 1 [same]. Second,
      of $419.63. A third audit concluded that the audits investigated unknown areas and did not
      Southwest Glass had underpaid three      involve all of the plaintiffs. Ex. 13,
      (3) employees a trifling combined total  SWGLASS000914-917, 920-921, 8869, p. 6-12
      of $11.16. The only other audit that     [audit findings show SWG violated the Public
      concluded that Southwest Glass had       Works Minimum Wage Act and failed to pay all
      underpaid two (2) of its employees had prevailing wages and fringe benefits owed, but did
      a finding of a trivial combined total of not disclose areas investigated or all documents
      $36.42.                                  reviewed.] Plaintiffs dispute Defendants’
                                               characterization of the violations found in the
                                               audits as “trivial,” and “trifling,” particularly
                                               considering the extrapolation of similar such
                                               violations across the class of 250 glaziers for all
                                               276 projects. Plaintiffs’ further contend that the
                                               audits are not representative, nor dispositive to the
                                               claims in this suit. For example, Defendants’
                                               failure to pay the overtime rate for work over 40
                                               hours in a week, failure to pay the glazier rate for
                                               glazier work, and underreporting and omission of
                                               hours worked is not readily identifiable from only


                                                10
No.             Defendants’ UMF                      Plaintiffs’ Supporting Evidence Showing
                                                                    Factual Dispute
                                                 a review of the records, rather the testimony of
                                                 Plaintiffs is necessary to detect such violations.
20.   25. “Nez did not generally report to the Ex. 7, Plaintiffs’ Response to Defendants’
      Albuquerque shop…” “If the job site        Interrogatory (“Plaintiffs’ Response to Rog. No.”)
      was on the eastern side of the state and No. 7, 9 and 10; Ex. 3, Nez Depo, 39:6-40:23;
      Nez’ route to it would take him through 41:1-23.
      Albuquerque, he would then sometimes
      go to Albuquerque and ride in a
      company vehicle from Albuquerque.”
21.   26. Nez’ typical work week schedule        Ex. 3, Nez Depo, 52:20-53:1.
      consisted of four (4) ten (10) hour days,
      beginning on Monday morning and
      ending Thursday evening.
22.   27. Nez was required to report to the      Ex. 3, Nez Depo, 60:9-25; 61:20-63:17.
      job site on Monday morning, and would
      return directly home at the end of the
      work day on Thursday unless he drove
      or carpooled in a company vehicle.
      Only then would Nez return to the
      Albuquerque shop before heading
      home.
23.   28. Nez was paid at the designated         Ex. 7, Plaintiffs’ Response to Rog. Nos. 7, 9 and
      glazier wage rate for all of his work on   10; see also Plaintiffs’ citations responding to UMF
      the job site.                              No. 7.
24.   29. Nez received subsistence for any       Ex. 3, Nez Depo, 55:1-56:9; 56:13-23, 57:7-23;
      out-of-town and private projects he        60:9-25, 61:20-63:17.
      worked on, which included a weekly per
      diem to cover food and lodging
      expenses, as well as a $10 per hour
      imbursement for the calculated average
      amount of drive time from the
      Albuquerque Shop to the out-of-town
      job site and back to the shop even
      though he did not usually go to the
      Albuquerque shop.
25.   30. Nez was well-informed that it was      Ex. 1, Baca Depo, 75:6-20.
      his responsibility as a Southwest Glass
      employee to fill out his time card
      correctly, although there were times
      that he conceded to have his Foreman
      fill out his time card for him.
26.   32. “Brown was not required to report      Harold Brown’s testimony within Defendants’
      to …[the] shop…”. “if Albuquerque          cited pages of his deposition states that he
      was closer to Brown’s residence than       sometimes took his own vehicle from the shop to
      the job site then he would go to the       the Roswell job site for personal reasons, which
      shop before heading to the job site –he contradicts Defendants claim that he solely
      did this for the sole purpose of riding in reported to the shop to ride in the company truck.
      a company vehicle rather than taking       Ex. 5, Brown Depo., 38:18-24.


                                                11
No.             Defendants’ UMF                        Plaintiffs’ Supporting Evidence Showing
                                                                     Factual Dispute
      his personal vehicle.”
27.   33. Brown was paid at the designated        Ex. 5, Brown Depo, 15:2-6, 17:5-7, 18:7-13, 16:2-
      laborer wage rate for all of his work on    11; 29:5-32:24.
      the job site unless he erected frames or
      set glass, in which case he was paid the
      glazier rate for his time spent on those
      activities.
28.   34. Brown received Subsistence for any      Ex. 5, Brown Depo, 48:19-50:9.
      public works projects he worked on,
      which included a weekly per diem to
      cover food and lodging expenses, as
      well as a $10 per hour imbursement for
      the calculated average amount of drive
      time from the Albuquerque Shop to the
      out-of-town job site and back to the
      shop.
29.   35. “it was, ultimately, Brown’s            Ex. 5, Brown Depo, p. 13:6-9.
      responsibility… to fill out his time card
      correctly…”
30.   37. Yazzie was not required to report to    Ex. 4, Yazzie Depo, 28:5-9, 28:22-29:5 29:6-11; see
      Southwest Glass’ Albuquerque shop.          also Plaintiffs’ citations responding to UMF No.
      Whether he first reported to the            16.
      Albuquerque shop to ride in a company
      vehicle or just drove his personal
      vehicle directly to a job site was
      Yazzie’s decision, and his choice on the
      matter was determined on a job-by-job
      basis.
31.   38. Yazzie’s typical work week schedule     Ex. 4, Yazzie Depo, 27:20-23.
      consisted of four (4) ten (10) hour days,
      beginning on Monday morning and
      ending Thursday evening.
32.   39. Yazzie was paid at the designated       Ex. 4, Yazzie Depo, 14:24 – 15:14; Ex. 7,
      laborer wage rate for all of his work on    Plaintiffs’ Response to Rog. Nos. 7, 9 and 10; see
      the job site unless he erected frames or    also Plaintiffs’ citations responding to UMF No. 7.
      set glass, in which case he would receive
      the glazier rate.
33.   40. Yazzie received Subsistence for any     Ex. 4, Yazzie Depo, 28:5-21, 26:12-22
      public works projects he worked on,
      which included a weekly per diem to
      cover food and lodging expenses, as
      well as a $10 per hour imbursement
      [sic] for the calculated average amount
      of drive time from the Albuquerque
      Shop to the out-of-town job site and
      back to the shop.
34.   41. Yazzie understood that it was his       Ex. 1, Baca Depo, Baca Depo, 75:6-20 (stating the
      responsibility as a Southwest Glass         responsibility was not a policy, rather it was


                                                  12
No.             Defendants’ UMF                      Plaintiffs’ Supporting Evidence Showing
                                                                     Factual Dispute
      employee to fill out his time card         “advice”); Ex. 7, Plaintiffs’ Response to Rog. Nos.
      correctly; however there were times that 7, 9 and 10 [almost always foremen filled out
      his Foreman would fill out his time card timecards for glaziers].
      for him.
35.   42. “…Mayorga was employed by              Ex. 6, Mayorga Depo, 6:1-7:12; Defendants’ MSJ
      Southwest Glass as an Apprentice           Ex. 6, Doc. 74-6, p. 28 of 41 [document, dated
      working in the field on construction       6/24/14, states “rehired as a helper. Must also get
      projects from approximately July 2010      into apprentice program.”]; Defendants’ MSJ Ex.
      to February 2016.”                         6, Doc. 74-6, p. 31 of 41 [document refers to
                                                 Mayorga as a “helper.”]. There exists a material
                                                 issue of fact as to whether and when Mayorga was
                                                 a properly indentured apprentice in accordance
                                                 with the requirements of the NMPWMWA.
36.   43. “ …Mayorga regularly reported to       Ex. 6, Mayorga Depo, 14:13-16, 15:4-6; 55:16-19
      [the] shop at the beginning of the work [Mayorga knew to report at shop at 5am].
      week, although doing so was not
      mandatory. Mayorga would then ride in
      a company vehicle with other
      Southwest Glass employees to an out-
      of-town job site and then return to
      Albuquerque after the completion of
      the work day on Thursday.”
37.   44. Mayorga’s typical work schedule        Ex. 6, Mayorga Depo, 22:2-23:15; see also Ex. 7,
      consisted of four (4) ten (10) hour days, Plaintiffs’ Responses to Rog Nos. 7, 9, and 10; see
      beginning on Monday morning and            also Plaintiffs’ citations responding to UMF No. 7.
      ending Thursday evening.
38.   45. Mayorga was paid at the designated Ex. 6, Mayorga Depo, 7:10-12, 25:24-27:1; see also
      apprentice wage rate for all of his work Ex. 7, Plaintiffs’ Responses to Rog Nos. 7, 9, and
      on the job site.                           10; Ex. 13, SWGLASS0001112, 1271, 1328, 1409,
                                                 pp. 1-5 [Mayorga’s paystubs showing varying rates
                                                 paid that were not all apprenticeship rates].
39.   46. Mayorga received Subsistence for       Ex. 6, Mayorga Depo, 23:16-25:13; 27:2-20
      any public works projects he worked
      on, which included a weekly per diem
      to cover food and lodging expenses, as
      well as a $10 per hour imbursement for
      the calculated average amount of drive
      time from the Albuquerque Shop to the
      out-of-town job site and back to the
      shop.
40    47. “understood that it was his            Ex. 7, Plaintiffs’ Response to Rog. No 7, 9 and 10
      responsibility.. to fill out his time card [typically foremen filled out timecards]; Ex. 1, Baca
      correctly; however there were times that Depo, Baca Depo, 75:6-20 (stating the
      his Foreman would fill out his time card responsibility of employees keeping time was not a
      for him.”                                  policy, rather it was “advice”).
A.    Plaintiffs’ DMF: Defendants did not        Ex. 6, Mayorga Depo, 27:21-28:4, 64:3-67:12.
      record, nor compensate Plaintiffs for all
      of the time spent travelling between job


                                                 13
No.              Defendants’ UMF                       Plaintiffs’ Supporting Evidence Showing
                                                                     Factual Dispute
       sites either during the workday or
       overnight.
B.     Plaintiffs’ DMF: Defendants failed to      Ex. 2, McCarthy Depo, 13:11-15; 99:14-100:22;
       follow to be properly informed of and      102:9-105:11; 109:14-110:9; Ex. 1, Baca Depo,
       follow the NMPWMA’s requirements           79:11-80:13.
       for apprentices to be properly
       indentured and working within the
       trade in which they are training.
C.     Plaintiffs’ DMF: Defendants did not        Ex. 7, Plaintiffs’ Response to Rog. Nos. 7, 9 and
       accurately record time on Plaintiffs’      10; see Plaintiffs’ citations in response to UMF
       timecards. Plaintiffs’ timecards           No. 7; Ex. 5, Brown Depo, 32:3-24; 41:3-21; Ex. 4,
       underreported hours worked and/or          Yazzie Depo, 39:8-25 (example of misclassified
       misclassified the type of work             time); 40:12-19.
       performed on timecards.
D.     Plaintiffs’ DMF: Defendants’               Ex. 13, SWGLASS0001112, 1271, 1328; 1409, pp.
       misclassification of work duties           1-5
       performed by Plaintiffs resulted in the
       underpayment of wages and fringe
       benefits on public works projects.
E.     Plaintiffs’ DMF: Defendants                Ex. 7, Plaintiffs’ Response to Rog. Nos. 7, 9 and
       automatically designated one half hour     10; Ex. 5, Brown Depo, 32:3-24; 41:3-21; Ex. 4,
       of “material distribution” and one half    Yazzie Depo, 39:8-25 (example of misclassified
       hour of “set-up” for each day of work,     time); 40:12-19.
       regardless of the work actually
       performed and the amount of time
       spent on material distribution and set-
       up.

       Defendants’ statement of UMF (Doc. 74 ¶¶ 1-46) makes several conclusory statements with

respect to only some of the legal elements of Plaintiffs’ claims and proffers insufficient and/or
mischaracterized “evidence” to support such statements. As such, their MSJ fails.

                                           V.      ARGUMENT

               A.      Plaintiffs’ travel time to/from job sites and to/from the shop and job
                       sites should have been counted as hours worked, and thus, Plaintiffs
                       are entitled to overtime damages and MSJ must be denied

                       1.      There are Issues of Material Fact with Respect to Travel Time
       Plaintiffs’ FLSA overtime claim is, in part, premised on Defendants’ failure to account for

compensable travel time in total hours worked. Plaintiffs’ time spent traveling from the shop to the
job site, and time spent travelling between job sites, is compensable under both the regulations and



                                                  14
controlling case law interpreting FLSA, discussed below. Defendants’ arguments on this issue fail as

there are material issues in dispute.

            First, Plaintiffs were told by foreman and superintendents where to report, and thus, were

required to report to the shop. The fact that Plaintiffs could report directly to the job site if it was

closer to their residence, does not change this fact. Glaziers did not report to the shop solely to

“catch a ride” for their own convenience. See Defendants’ MSJ at p. 5, 8-9, 13. Rather, they reported

to the shop to transport the materials and tools to the job site. They reported to the shop to pick up

per diem payments, when provided. They reported to the shop to drop off timesheets to get paid.

Second, deposition testimony from both Plaintiffs and Defendants’ witnesses evidence that

employees usually transported tools and materials from the shop to the job sites, and helped load

materials, regardless of whether shop employees had first loaded trucks. The frequency with which

employees went directly to the shop does not render all other compensable travel time non-

compensable, rather it is a factual issue that goes to damages, not liability. Further, Defendants’ MSJ

ignores evidence that they did not compensate Plaintiffs for time spent travelling between job sites.

Defendants also ignore evidence that Plaintiffs were not compensated for overnight travel. See 29

C.F.R. § 785.39; Ex. 6, Mayogra Depo, 63:1-65:18.

            There is ample evidence here that employees were told to report to the shop and transported
tools and materials to the job site, yet SWG’s practice was not to record this time on timecards. See

29 C.F.R. § 785.38; See Response to UMF No. 16. The failure to account for this compensable time

resulted in the non-payment of overtime wages for this work. See Marshall v. R & M Erectors, Inc.,

429 F. Supp. 771, 777–78 (D. Del. 1977)(under analogous facts to the present case, finding

defendants violated FLSA because no adjustment was made in an employee’s weekly wage to reflect

any fluctuation in the hours worked during the week);7 Preston v. Settle Down Enterprises, Inc., 90 F.

7
    The Court examined the following analogous facts as are present here and concluded that the plaintiffs were entitled to overtime:
           On the typical day, the employees reported to the Bridgeville office at 6:00 A. M. Sometimes small tools or supplies were
           loaded into defendants' vehicles, and perhaps the vehicles were serviced; the employees then learned from Hastings where
           the day's work would be performed. Because the job sites were scattered throughout Maryland, an automobile trip


                                                                   15
Supp. 2d 1267, 1280 (N.D. Ga. 2000) (citing Dole v. Enduro Plumbing, No. 88–7041–RMT, 1990 WL

252270 at * 2 (C.D.Cal. Oct.16, 1990) (finding travel time compensable when “workers reported to a

shop where they checked in, met their fellow workers, picked up the company trucks, and loaded

tools on the trucks when needed.”)) Further, Dole recognized that “[w]here ... an employee is

required to report to a designated meeting place ... to receive instructions before he proceeds to

another workplace (such as the jobsites ...), the start of the workday is triggered at the designated

meeting place, and subsequent travel is part of the day’s work and must be counted as hours worked

for purposes of the FLSA, regardless of contract, custom, or practice.” Dole, supra, at *4-5. The fact

that some employees took their own cars from the shop to job site, and others took company

trucks, does not render that travel non-compensable. See 29 C.F.R. § 785.40.

            As there are material issues of fact in dispute on this claim, summary judgment must be

denied. See Brubach v. City of Albuquerque, 893 F. Supp. 2d 1216, 1229 (D.N.M. 2012) (denying a MSJ

because “a factual dispute exists with respect to whether Plaintiffs arrived early only because it was

their personal preference” (emphasis added)); Preston, supra, 90 F. Supp. 2d 1267.8
                            2.    Defendants’ Cited Case law is Distinguishable
            Defendants’ cited case law is not instructive. At the outset, “each case involving

compensation for travel time ‘must be decided upon its peculiar facts.’” Crenshaw v. Quarles Drilling
Corp., 798 F.2d 1345, 1350 (10th Cir. 1986); D A & S Oil Well Servicing, Inc. v. Mitchell, 262 F.2d 552,

554-55 (10th Cir. 1958).9 The issue of whether work is compensable under the FLSA is a mixed

question of law and fact “because the precise nature of the employee’s duties is a question of fact,



              averaging 1.5 hours was necessary before the work could begin. Once at the job site, the employees worked a daily average
              of nine hours. Finally, the return trip to Bridgeville consumed another 1.5 hours. Thus, the Court finds, on the basis of
              pattern and practice evidence, that the average work day of defendants' employees, measured from the 6:00 A. M. starting
              time until the return to Bridgeville in the evening, lasted twelve hours. The standard five day week followed by defendants,
              accordingly, totaled sixty hours. Id.
8
  Preston found genuine issues of material fact remained as to whether workers were “entitled to pay for pre-travel waiting time, travel
time, return travel, and post-travel waiting time.” Id.
9 Finding that “employees who transport equipment without which well servicing could not be done, are performing an activity which is

so closely related to the work which they and the other employees perform, that it must be considered an integral and indispensable part of their principal
activities (emphasis added).” Id.


                                                                            16
while application of the FLSA to those duties is a question of law.”10 Baker v. Barnard Const. Co., 146

F.3d 1214, 1216 (10th Cir. 1998).

          Defendants cite Crenshaw for the proposition that trucks must have critical equipment to

render travel time compensable – however the facts here show glaziers do transport necessary tools

and materials to the job site. Vega deals with home-to-work commute time, which is not a minor

factual distinction, rather a fundamentally different type of travel than at issue which renders it

inapposite. See Vega v. Gasper, 36 F.3d 417 (5th Cir.1994).11 Likewise, Segura dealt with travel from

home to job site, which is wholly distinguishable for the same reason. See Segura, supra, 355 P.3d at

847. Further, Segura’s finding that a travel time claim cannot be premised NMMWA is inapplicable

here as Plaintiffs premised part of their overtime claim on the exclusion of travel claim from hours

worked under FLSA. 12 The other part of Plaintiffs’ overtime claim is premised on the underpayment

or non-payment of prevailing wages under the NMPWMWA. See id. Vega is also distinct as the

employees there did no work prior to boarding buses, i.e. they did not load tools or materials as

Plaintiffs did here. See Vega, supra, 36 F.3d 417. Likewise, Dolan v. Project Constr. Corp., 558

F.Supp.1308 (D. Colo. 1983) is distinguishable as Plaintiffs here, unlike those in Dolan, loaded up

materials at the shop and carried tools and materials in transport.13

          Defendants rely heavily on See Smith v. Aztec Well Servicing Co., 462 F.3d 1274, 1284, but it is
distinct because Aztec found no evidence that employees had to receive essential instructions, pick-


10 See generally also Gaytan v. G&G Landscaping Constr., Inc., No. CV 14-3395, 2015 WL 6775921 at *4 (D. N.J. Nov. 6, 2015) (finding
lower-court rulings on the FLSA standard “still informative” and noting that “Integrity Staffing did not create a sea change in the law”).
Gaytan, which followed Integrity Staffing Sols., Inc. v. Busk, 135 S.Ct. 513 (2014), found that the activities of “loading trucks with
necessary tools and materials, checking the tire pressure, oil and other fluids in the truck, and greasing machines needed for that
particular day” were “integral and indispensable to the principal activities”of landscaping employers and thus were compensable under
the FLSA.
11 Likewise, Defendants’ citation United Transp. Union Local 1745, supra, 178 F.3d 1109 for the proposition that commute time in buses

is not compensable is based on principle that commuting-to-work time is not compensable. There, unlike here, employees did not
receive instructions at the central meeting location, nor were they picking up or loading tools. Compare also Morillion v. Royal Packing Co,
22 Cal.4th 575 (2000) (finding bus rides from a central meeting location to a job site to be compensable because employees were
subject to the control of their employer).
12 The MWA makes no mention of travel time, whereas FLSA does – thus Segura is not instructive to this Motion. See id.
13 Ralph v. Tidewater, 361 F.2d 806 (1966) is not comparable because it dealt with the issue of whether certain activity, including the

payment of overtime, was exempted under 4(a) of the Portal-to-Portal Act due to presence of collective bargaining agreements which
provide for the payment of travel time.


                                                                    17
up essential tools and materials, equipment or paperwork at the central meeting location, which is

not the case here as evidenced by the deposition testimony cited in Response to UMF No. 16. See id.

Here, as cited above, Plaintiffs testified that they have been told by foreman and superintendents to

report to the shop to receive reporting instructions, pick up or drop off tools, materials, per diem

payment, and essential paperwork, including their timesheets and daily logs in order to get paid.

Superintendent Joe Cordova testified, as cited above, that “usually” materials are loaded and

transported from the shop to the job site by glaziers. In contrast, Aztec found that because

employees rarely transported tools, and therefore it was not in ordinary course of business, the travel

time was not compensable. See id. at p. 1290. Further, Aztec Court reasoned that picking up safety

gear was not compensable as held in Reich v. IBP, Inc., 38 F.3d 1123 (1994), but the analysis in Reich

was rejected in DeAsencio v. Tyson Foods, Inc., 500 F.3d 361 (2007).14 In addition to its distinguishable

facts rendering it inapposite, the analysis of the travel time claim in Aztec is not persuasive given the

Court’s reliance on case law that has since been rejected. As such, Defendants arguments should be

given no weight and motion summary judgment should be denied.

                                3.        Plaintiffs Have Pled a Travel Time Claim
          Despite this Court’s overruling of Defendants’ failure to plead a travel time claim objection,

Defendants repeat the same argument.15 Defendants did not file a Motion to Dismiss. They have
been notice of Plaintiffs’ FLSA overtime claim since November 2015, yet one year later in a MSJ,

they again assert the same failure to plead argument. Defendants attempt to evade liability by

continuing to press this issue with the hope of a different result.




14 DeAsencio, supra, 500 F.3d 361 (rejecting Reich analysis and holding that instead the integral/indispensable test should be applied).
15 In response to Plaintiffs’ Motion to Compel, like here, Defendants objected to a requests for documents related to travel time as
irrelevant and implored that Plaintiffs must file a leave to amend to include particularized facts related to travel time to seek them. The
Court overruled the objection and ordered the documents be produced, thus recognizing their relevance. See Doc. No. 63. In fact, the
Court ordered Plaintiffs to file a SAC to remove deceased named plaintiff Dennis Zamora from the action, yet did not order the
addition of facts on travel time. See id. As a result, Plaintiffs saw no need to do so. See also Rule 15(a)(2) of the FRCP, which directs
that “a party may amend its pleading only with ... the court's leave” and that “[t]he court should freely give leave when justice so
requires.”


                                                                   18
          In assessing the pleading standard, the U.S. Supreme Court has articulated: “[W]e do not

require heightened fact pleading of specifics, but only enough facts to state a claim to relief that is

plausible on its face….” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).16 Twombly does not

require a recitation of specific, particularized facts. 17 See also Skinner v. Switzer, 562 U.S. 521, 530

(2011)(citing 5 C. Wright & A. Miller, Federal Practice & Procedure § 1219, pp. 277–278 (3d ed.2004

and Supp.2010))(stating that under the FRCP “a complaint need not pin plaintiff’s claim for relief to

a precise legal theory. Rule 8(a)(2) of the [FRCP] generally requires only a plausible “short and plain”

statement of the plaintiff's claim, not an exposition of his legal argument.”).

          The Second Amended Complaint (“SAC”) states that Plaintiffs “are consistently required to

work over forty (40) hours in a seven-day workweek” and “were not adequately compensated with

overtime compensation for time worked in excess of 40 hours in one week,” thus showing that their

entitlement to overtime relief is plausible, rather than it merely conceivable. See id.; SAC, ¶¶ 4,7; see

also Christy Sports, LLC v. Deer Valley Resort Co., Ltd., 555 F.3d 1188, 1191 (10th Cir. 2009) (“The

complaint ‘does not need detailed factual allegations,’ but the ‘[f]actual allegations must be enough to

raise a right to relief above the speculative level.’” (internal citations omitted) (quoting Twombly, 550

U.S. at 1965)). To support their argument, Defendants cite to three cases – all of which are factually

distinguishable, and thus, should be no weight.18 Aztec is not instructive given its distinct procedural


16 Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) defines plausibility:
            [P]lausibility in this context must refer to the scope of the allegations in a complaint: if they are so general that they
            encompass a wide swath of conduct, much of it innocent, then the plaintiffs “have not nudged their claims across the line
            from conceivable to plausible. The allegations must be enough that, if assumed to be true, the plaintiff plausibly (not just
            speculatively) has a claim for relief. A claim has facial plausibility when the plaintiff pleads factual content that allows the
            court to draw the reasonable inference that the defendant is liable for the misconduct alleged. Id. (internal citations
            omitted).
17 In examining a complaint against the pleading standard, Bell articulated: “[O]ur concern is not that the allegations in the complaint

were insufficiently “particular[ized],” […], rather, the complaint warranted dismissal because it failed in to render plaintiffs’
entitlement to relief plausible.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 569, fn. 14 (2007).
18 Defendants’ other citations are also inapposite. The Complaint in Sambhi v. Singh, No. 09-CV-1053 MCA/RLP, Mem. Op. of Aug.

31, 2010, merely alleged that “Defendants were acting as fiduciaries of Plaintiff's [sic] and [the Corporations],” which was found
“threadbare” because plaintiffs alleged no facts to show that a fiduciary duty existed. See id. (citing Golden Cone Concepts, Inc. v. Villa
Linda Mall, Ltd., 820 P.2d 1323, 1326 (1991) (“Whether a duty exists is generally a question of law....”). Likewise, the complaint
examined in Armijo, also cited by Defendants, is distinct because it contained only legal conclusions, but no factual basis for a court to
determine that a plaintiff may be entitled to relief. Armijo v. New Mexico Dep’t of Transp., No. CIV-08-0336 JB/ACT, Mem. Op. of Apr.
06, 2009.


                                                                    19
posture and facts. The Aztec Court ruled that the plaintiffs had not raised a wage claim based on

time spent in safety meetings and donning safety gear until the pretrial order as they did not articulate the

claim in any briefing over a fourteen-month period. See Aztec, 462 F.3d at 1284. Under these facts, the Court

found that the complaint did not support the claim because the only reference to “work” is to work

specifically performed “[d]uring this travel to and from the well site,” whereas Plaintiffs’ Complaint

references to any and all work which exceeded 40 hours in a workweek, but was not paid at

overtime, which encompasses travel time. See id.

        Plaintiffs’ Complaint’s statements quoted above, if taken as true, allows the Court to

determine that a violation of FLSA is plausible. See Twombly, 550 U.S. at p. 570. In contrast, if the

Complaint merely alleged: “Southwest Glass’s timekeeping policies and practices violated FLSA,” it

would be an insufficient, bare legal conclusion without factual support as present in the complaints

examined in Sambhi and Armijo. See Sambhi, supra, No. 09-CV-1053; Armijo, supra, No. CIV-08-0336.

For these reasons, Defendants’ repeated attempt at the argument still fails and Plaintiffs’ FLSA

overtime claim should not be dismissed.

                 B.      Audits do not establish that Defendants paid glaziers correctly and
                         there are material issues of facts with respect to Plaintiffs’ NMPWMA
                         claims, thus summary judgment must be denied.
        Defendants claim that summary judgment must be granted because they believe the DWS’s
failure to point out violations specifically related to the practices Plaintiffs have articulated as

resulting in the underpayment of glazier prevailing wages and fringe benefits is dispositive to this

suit’s claims. Defendants go as far as to leap that it establishes they “paid glaziers correctly,” and

thus are entitled to summary judgment. Defendants cite to no case law to support this position. For

the below reasons, Defendants have not and cannot support it.

        The PWMWA serves “to ensure that employees of contractors working on state ... projects

are protected from substandard earnings.” Universal Commc'ns Sys., Inc. v. Smith, 104 N.M. 754, 755
(1986). “Statutes such as these are intended to protect the workers for any difference between locally



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prevailing wages and wages actually received.” Universal Communications Systems, Inc. v. Smith, 104 N.M.

754, 755 (1986). The statute also prevents the importation of cheap labor. See generally id.

          First, there were NMPWMWA violations, including failure to pay all wages and fringe

benefits owed, detected during the DWS audits. Second, the policies and practices actually reviewed

and investigated during audits are not stated in the audit findings letters, and thus are unknown.

Third, even assuming for argument-sake that DWS was aware of and thoroughly investigated all pay

and timekeeping practices at issue in this lawsuit, its findings are not the proper legal basis to grant

summary judgment for multiple reasons outlined herein. Such a finding would disregard the

requirements of collateral estoppel. Moreover, the mere existence of a duty to act does not in and of

itself prove that DWS thoroughly investigated Defendants’ practices and fully complied with that

duty. See New Mexico Bldg. and Const. Trades Council v. Dean, 353 P.3d 1212, 1217-1218 (2015), (issuing

a writ of mandamus based on a finding that DWS failed to comply with its duty to set prevailing wages

for a five-year period). SWG too has a duty to follow federal and state wage and hour laws, but such

duty does not alone establish it did so.19

          For claim preclusion to preclude litigation of an issue, the moving party must demonstrate

that the state agency “(1) act[ed] in “a judicial capacity”; (2) resolve[d] “disputed issues of fact

properly before it”; and (3) the parties have had “an adequate opportunity to litigate” the issue, then
the court may grant the state agency’s decision preclusive effect to the extent that it would have

received preclusive effect in state court. See Salguero v. City Of Clovis, 366 F.3d 1168, 1173 (10th Cir.

2004) (citing Univ. of Tenn. v. Elliott, 478 U.S. 788, 798 (1986). If Elliott’s three requirements are met,


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   In New Mexico Bldg. and Const. Trades Council v. Dean, 353 P.3d 1212, 1217-1218 (2015), the Court found that DWS Director Dean
failed to comply with his duty under the NMPWMA. The Court found such failure prejudiced the rights of every mechanic and
laborer on public works projects in New Mexico. The Court reasoned:
           The Unions represent employees whose wages have been, and continue to be, directly affected by the Director's failure to
           comply with the Act. Although Section 13–4–15 provides an avenue to appeal “any determination, finding or action of the
           [D]irector made pursuant to the [Act],” this remedy is wholly inadequate under these circumstances.[] It has been over five
           years since the Act was amended, and the Director still has not set prevailing wage and prevailing benefit rates according to
           CBAs. DWS has been simply setting the rates the same as those that have been in effect since 2010 […] after five years with
           no increase in wage rates, these stale wages are prejudicing the right of every mechanic and laborer on a public works
           project to be paid a wage rate consistent with applicable CBAs. Id.


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New Mexico courts apply collateral estoppel to administrative hearings provided: “(1) the party against

whom collateral estoppel is asserted [was] a party in or in privity with a party to the original action;

and (2) the two cases [ ] concerned the same ultimate issue of fact, which was (a) actually litigated,

and (b) necessarily determined in the first suit.” DeLisle v. Avallone, 874 P.2d 1266, 1269 (1994). If the

party invoking the doctrine provides sufficient evidence to meet all elements of this test, it

establishes a prima facie case. See Shovelin v. Central New Mexico Electric Cooperative, Inc., 850 P.2d 996,

1000 (1993). At that point, the “burden shifts to the party opposing collateral estoppel to show that

he or she was not afforded a full and fair opportunity to litigate the issue in the prior proceeding.”

Padilla v. Intel Corp., 964 P.2d 862, 865 (1998). The New Mexico Court of Appeals has noted that

courts must inquire as to whether “procedural differences between the two actions, such as

representation by counsel, presentation of evidence, questioning of witnesses, and appellate review,

would make preclusion unfair, and whether policy considerations exist to deny any preclusive effect”

of an administrative decision. Mascarenas v. City of Albuquerque, 274 P.3d 781 (2012). Before even

examining the legal elements, Plaintiffs note audits were not fact-finding hearings subject to cross

examination and no representation by counsel was available. The procedural differences between the

audits and litigation render preclusion untenable as there no “full and fair opportunity to litigate”

was provided. See id.
            Cases examining whether audits or other administrative findings are entitled to preclusive

effect in subsequent litigation have concluded that similar non-adjudicatory administrative findings

have not preclude future claims. See, e.g., In Re Albright, 2013 WL 6076696 (Nov. 19 2013) (finding

prior prevailing wage-related audits did not preclude claims);20 Kremer v. Chem. Constr. Co., 456 U.S.


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     In re Albright reasons that prevailing wage audits do not represent a final adjudication and are not preclusive:
             […] [T]he Citations [audits] are not entitled to preclusive effect against the Claimants […] the Attorney General's
             investigation is not an administrative remedy for aggrieved parties, but a mechanism for the enforcement and vindication of
             the laws of the Commonwealth. […] [T]he complaining party does not control the investigation. […] I am also wholly
             unpersuaded that the investigation, by itself, is an adjudicatory proceeding. Therefore, I find that the Claimants are not in
             privity with the Attorney General, were not parties to the investigation, and that the Citations do not represent a final
             adjudication of the same claims and issues as are now before me.


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461, 480 (1982) (finding that the application of a state’s preclusion rules to unreviewed decisions

made by state bureaucracies only applies if the agency acted in a judicial capacity; that is, if it

resolved disputed issues of fact after giving the parties a full and fair opportunity to litigate); Lipsky v.

Commonwealth United Corps., 551 F.2d 887, 893 (1976) (finding that “consent judgment between a

federal agency and a private corporation which is not the result of an actual adjudication of any of

the issues ... can not be used as evidence in subsequent litigation between the corporation and

another party”); Jones v. Hamic, 875 F.Supp.2d 1334, 1348 (2012)(finding that federal court must

scrutinize the procedures used by the state agency to reach the result that it reached, measuring their

quality, extensiveness, and fairness).

        At the outset, to establish preclusion Defendants must show: (1) final adjudication was

entered on the legal claims at issue and (2) Plaintiffs were parties to the prior adjudication and (3)

that Plaintiffs had a full and fair opportunity to litigate the issues. See Elliott, supra, 478 U.S. at 798.

Defendants have not and cannot establish these requirements. First, there is no evidence that

Plaintiffs initiated the audits. All Plaintiffs were not parties to them. Defendants have not and

cannot establish that audits examined all of the payroll and time records of Plaintiffs during the

recoverable period. The audits represent the findings of a state investigator and the product of a

different burden of proof. There was no judicial proceeding or final adjudication rendered, rather
there were findings of a state investigator that were the product of a different burden of proof.

        The DWS findings’ letters do not say what was specifically investigated, the reasons for the

findings, nor do they explicitly condone SWG’s time and pay classification practices. Audits of 7

projects on unknown topics, out of the 276 projects conducted in the recoverable period, is not

dispositive of Plaintiffs’ claims. Defendants try to pass off detected Public Works Minimum Wage

Act violations as “minor,” “trivial” and “trifling.” To be clear, the audits looked only at a limited

group of employees on only 7 out of a total of 276 projects in the recoverable period. A violation of
the NMPWMA should not characterized as “minor.” Further, if one extrapolates those detected



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violations across the class of 250 employees for all 276 projects, the detected violations cannot fairly

be characterized as “minor.” As detailed in the statement of DMF in response to UMF No. 13, the

Court only has Defendants’ conflicting testimony on verbal discussion with DWS that automatic

designation of eight hours per pay period, regardless of actual time spent, as “set-up” and “material

distribution” time paid at $15.91 per hour (laborer rate), rather than $20.15 per hour (glazier rate)

was acceptable. Defendants’ characterization that DWS “instructed” SWG to designate time as such

is overstated and disputed among Defendants’ own witnesses. It is also contradicted by SWG’s

direction that employees are responsible for recording their own time.

        Even accepting Defendants’ flawed arguments as true, there remain material issues of fact as

to what work time Plaintiffs actually performed based on the evidence that SWG allowed foremen

to complete timecards on behalf of glaziers, and superintendents and its payroll administrator to

delete or change time entries on timecards, which resulted in work tasks being omitted or inputted

incorrectly. For the above reasons, summary judgment must be denied.

                                           VI.     CONCLUSION
        Defendants failed to show an absence of material issues of fact on all elements of the claims

and their affirmative defense and failed to show they are entitled to summary judgment as a matter

of law. Moreover, Plaintiffs have shown that there are material issues of fact in dispute.
WHEREFORE, for the foregoing reasons, Plaintiffs respectfully request that this Court deny

Defendants’ motion for summary judgment.
                                                        Respectfully submitted,
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I hereby certify that on this 4th day
of November, 2016, the foregoing Pleading
was e-filed via the CM/ECF
System and served via electronic
notification on all parties of record.

/s/ Caren P. Sencer
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